     Case 2:23-cv-04274-SVW-PVC                Document 36         Filed 10/03/24       Page 1 of 2 Page ID
                                                    #:165




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
Jorge Alejandro Rojas                                       CASE NUMBER

                                                                                 2:23-cv-04274
                                              PLAINTIFFS)
                             v.
Bright World,LLC et al                                                  NOTICE OF DEFICIENCY RE:
                                                                        WRIT OF EXECUTION AND
                                                                         ABSTRACT OF JUDGMENT


The documents)submitted for issuance contains one or more errors, as indicated below, and is being returned
to you for correction. Once the corrections) has been made, please resubmit the document.

    Writ/abstract must contain the names)and addresses) of the judgment debtor.

    Entered date listed on the writ/abstract does not match the entered date of the judgment/order.

    The amounts)listed in writ/abstract does) not coincide with the amounts)in the judgment/order.

❑ If there are no amounts for principal, attorney fees, costs or interest, please enter a zero (0) on each line.

    Attested date must be left blank.

    Last four digits of the judgment debtor's driver's license and social security number were not indicated
    on the Abstract of Judgment. If these numbers are unknown, place an "X" in the box labeled "Unknown."

    Original, unexecuted writ of execution must be returned to the clerk prior to the issuance of a successive
    writ if 180 days have not elapsed since the issuance of the original writ.

❑
x Other:
     Please list complete case number.




                                                                   Clerk, U. S. District Court


                 10/3/2024                                         By G. Santiago (213)894-3863
                   Date                                                Deputy Clerk



CV-52C (09/15)            NOTICE OF DEFICIENCY RE: WRIT OF EXECUTION AND ABSTRACT OF JUDGMENT
     Case 2:23-cv-04274-SVW-PVC            Document 36        Filed 10/03/24      Page 2 of 2 Page ID
                                                #:166
 WHEN RECORDED MAIL TO:
 James E. Shelton
316 Covered Bridge Road
King of Prussia, PA 19406
(484)312-3300
 Jamie@finalverdictsolutions.com
 Assignee of Record,In Pro Per

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                                          CASE NUMBER:
JORGE ALEJANDRO ROJAS

                                   PLAINTIFF(S),          CV 04274-SVW-PVC
                          v.

BRIGHT WORLD,LLC & ELMER A. VALLE                             ABSTRACT OF JUDGMENT/ORDER
BATRES
                        DEFENDANT(S).


I certify that in the above-entitled action and Court, Judgment/Order was entered on Apri125, 2024
in favor of JORGE ALEJANDRO ROJAS
whose address is 557 Cambridge Way> Bolingbrook,IL 60440
and against BRIGHT WORLD,LLC,and ELMER A. VALLE BATRES
whose last known address is 5771 N. Katy Ln, Fresno, CA 93722
for $ 3500.00                Principal, $ 0.00                Interest,    $ 554.26                 Costs,
and $ 0.00                    Attorney Fees.                                 See ECF No. 24 dated 3/28/2024


ATTESTED this                          day of                    , 2024 .
Judgment debtor's driver's license no. and state;                        (last 4 digits) ❑✓ Unknown.
Judgment debtor's Social Security number;             5606                (last 4 digits) ❑Unknown.
❑✓ No stay of enforcement ordered by Court
❑ Stay of enforcement ordered by Court, stay date ends


Judgment debtor's attorney's name and address and/or
address at which summons was served:

                                                            CLERK,U.S. DISTRICT COURT
7643 North Ingram Avenue
Ste 101
Fresno, CA 93711                                     By
                                                                      Deputy Clerk



NOTE:JUDGMENTS REGISTERED UNDER Z8 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE DISTRICT OF ORIGIN
AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

G-IS (03/12)                             ABSTRACT OF JUDGMENT/ORDER
